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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

W.R. GRACE & CO., et al. Chapter 11

Debtors. Case No. 01-01139 (IKF)

(Jointly Administered)

ORDER DISALLOWING AND EXPUNGING
88 TIME-BARRED CANADIAN ASBESTOS PD CLAIMS

AND NOW, this day of , 2007, it is ORDERED, ADJUDGED, and

DECREED that claim numbers 011322, 011323, 011618, 011620, 011627, 011632, 011678,
011680, 011681, 011682, 011683, 011684, 012293, 012303, 012304, 012305, 012306, 012307,
012308, 012309, 012310, 012311, 012312, 012313, 012314, 012315, 012316, 012317, 012322,
012329, 012331, 012346, 012348, 012368, 012377, 012388, 012394, 012395, 012396, 012400,
012401, 012410, 012412, 012421, 012422, 012423, 012427, 012430, 012438, 012439, 012440,
012442, 012443, 012454, 012457, 012476, 012489, 012490, 012491, 012493, 012496, 012498,
012500, 012501, 012503, 012525, 012526, 012527, 012528, 012530, 012531, 012532, 012534,
012536, 012537, 012541, 012542, 012546, 012548, 012549, 012554, 012557, 012570, 012576,
012590, 012591, 013950, 014885 are hereby disallowed and expunged as barred by the

applicable Canadian ultimate and normal limitations periods.

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Judith K. Fitzgerald
United, States Bankruptcy Judge

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